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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        UNITED STATES OF AMERICA,
                                   7                                                       Case No. 15-cr-00319-RS-1
                                                       Plaintiff,
                                   8
                                                v.                                         ORDER DENYING MOTION
                                   9                                                       PURSUANT TO 28 U.S.C. § 2255 TO
                                        SHAUN BRIDGES,                                     VACATE SENTENCE, JUDGMENT OF
                                  10                                                       CONVICTION, AND WAIVER OF
                                                       Defendant.                          INDICTMENT
                                  11

                                  12
Northern District of California
 United States District Court




                                  13
                                                                             I. INTRODUCTION
                                  14
                                          Shaun Bridges seeks to vacate his criminal sentence, judgment of conviction, and waiver of
                                  15
                                       indictment. According to Bridges, his waiver of indictment and guilty plea were not entered
                                  16
                                       knowingly and voluntarily, and his sentence therefore violates due process of law. For the reasons
                                  17
                                       that follow, however, Bridges’ motion is denied and his sentence is upheld.
                                  18
                                                                              II. BACKGROUND
                                  19
                                          In March 2015, Bridges was charged with money laundering under 18 U.S.C. § 1956 and wire
                                  20
                                       fraud under 18 U.S.C § 1343, each carrying with it a maximum sentence of twenty years. Later the
                                  21
                                       government sought an obstruction of justice charge related to the money laundering conduct. In
                                  22
                                       plea discussions, Bridges’ counsel represented Bridges intended to plead guilty to the Section
                                  23
                                       1956 money laundering charge, but not the obstruction of justice charge. The government rejected
                                  24
                                       Bridges’ offer because it did not include the obstruction charge. Eventually the parties agreed to
                                  25
                                       change the money laundering charge from Section 1956 to Section 1957, which carries with it a
                                  26
                                       ten-year maximum sentence rather than twenty, so that Bridges would plead guilty to obstruction
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                                       of justice as well. This reduced Bridges’ Sentencing Guideline range from 26 to 25, effectively
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                                   1   reducing the maximum recommended sentence from 78 to 71 months in prison.

                                   2       On August 31, 2015, pursuant to his plea agreement with the government, Bridges pleaded

                                   3   guilty to one count of money laundering in violation of 18 U.S.C. § 1957, and one count of

                                   4   obstruction of justice in violation of 18 U.S.C. § 1512(c)(2). The plea agreement included a waiver

                                   5   of the right to “file any collateral attack on [his] conviction or sentence, . . . except that I reserve

                                   6   my right to claim that my counsel was ineffective in connection with the negotiation of this

                                   7   Agreement or the entry of my guilty plea.” Plea Agreement ¶ 5 (Dkt. No. 169-3). After Bridges

                                   8   was sentenced to a 71-month term of imprisonment, consistent with the maximum term of his

                                   9   Sentencing Guideline range, he filed a direct appeal with the Ninth Circuit. On April 7, 2017, his

                                  10   appeal was denied. Despite agreeing to waive any collateral attacks, including pursuant to 28

                                  11   U.S.C. § 2255, he raises the present claims.

                                  12                                          III. LEGAL STANDARD
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                                  13       “A prisoner in custody under sentence of a court established by Act of Congress claiming the

                                  14   right to be released upon the ground that the sentence was imposed in violation of the Constitution

                                  15   . . . may move the court which imposed the sentence to vacate, set aside or correct the sentence.”

                                  16   28 U.S.C. § 2255(a).

                                  17                                              IV. DISCUSSION

                                  18       Bridges challenges the constitutional basis of his sentence and waiver of indictment. He avers

                                  19   he could not enter the agreement knowingly and voluntarily since it was founded on incorrect

                                  20   information about the statutory maximum punishment for his money laundering conviction. He

                                  21   also raises an ineffective assistance of counsel claim based on his attorneys’ failure to realize and

                                  22   inform him about the proper maximum sentence. The government argues Bridges waived his

                                  23   statutory right to attack collaterally his conviction and sentencing, apart from his ineffective

                                  24   assistance of counsel claim, which nonetheless fails because counsel was effective. The record

                                  25   shows Bridges’ plea was knowingly and voluntarily entered, and his counsel was not ineffective.

                                  26       A. Waiver

                                  27       Bridges is correct that due process requires a guilty plea be both knowing and voluntary. See

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                                   1   Boykin v. Alabama, 395 U.S. 238, 242–43 (1969). A plea cannot be induced by

                                   2   misrepresentations, but it stands as entered if done “by one fully aware of the direct consequences,

                                   3   including the actual value of any commitments made to him by the court, prosecutor, or his own

                                   4   counsel.” Brady v. United States, 397 U.S. 742, 755 (1970). Misrepresentation requires “an intent

                                   5   at the time of contracting not to perform.” Puckett v. United States, 556 U.S. 129, 138 (2009).

                                   6      Bridges confirmed in his plea agreement when he considered and signed it, that his decision to

                                   7   plead guilty was made voluntarily and with knowledge of the charges brought against him. See

                                   8   Plea Agreement ¶ 18 (Dkt. No. 169-3). His lawyer also confirmed he fully explained the terms of

                                   9   the agreement to Bridges and attested that Bridges understood all the terms and entered the

                                  10   agreement knowingly and voluntarily. Id. ¶ 19. Notwithstanding the maximum sentences

                                  11   associated with individual counts, Bridges acknowledged in the agreement that his sentencing

                                  12   implicates the Sentencing Guidelines and that the court is not bound by the Guideline calculations.
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                                  13   Id. ¶ 7. Bridges agreed not to file any collateral attacks under 28 U.S.C. § 2255, except to reserve

                                  14   his right to pursue an ineffective assistance of counsel claim. Id. ¶ 5.

                                  15      It is undisputed the plea agreement lists the money laundering charge under 18 U.S.C. § 1957

                                  16   with an incorrect twenty-year maximum. Id. ¶ 1. At his arraignment and later in the day when

                                  17   Bridges’ plea was entered, the government’s counsel and the court inadvertently repeated his

                                  18   money laundering charge carried with it a twenty-year maximum. See Minutes (Dkt Nos. 169-6,

                                  19   169-7). Bridges’ presentence report also listed the charge with a twenty-year maximum, as did his

                                  20   Defendant Information Relative to a Criminal Action form.

                                  21      For several reasons, this misstatement of the maximum sentence does not operate to foster an

                                  22   involuntary or unknowing guilty plea or a plea induced by misrepresentation. For instance, under

                                  23   Rule 11 it is not required “that the district court announce authoritatively the actual maximum

                                  24   sentence at the plea-taking stage.” United States v. Barrios-Gutierrez, 255 F.3d 1024, 1028 (9th

                                  25   Cir. 2001). Moreover, misrepresentations require intentionality, and any misstatements of the

                                  26   maximum sentence by the court decidedly lacked the requisite intent to misrepresent information

                                  27   that was determined at the time the parties contracted their plea agreement. Puckett, 556 U.S. at

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                                   1   138. Assuming the scrivener’s error could be attributable to defense counsel, this type of

                                   2   erroneous prediction is not a misrepresentation either. It would not entitle Bridges to challenge his

                                   3   plea. See United States v. Garcia, 909 F.2d 1346, 1348 (9th Cir. 1990) (“an erroneous prediction

                                   4   by a defense attorney concerning sentencing does not entitle a defendant to challenge his guilty

                                   5   plea.”).

                                   6       Bridges’ arguments and allegations of misinformation by the government and this court are

                                   7   further belied by the record. On March 25, 2015, the court issued an arrest warrant for Bridges for

                                   8   money laundering under 18 U.S.C. §1956 and wire fraud under 18 U.S.C. § 1343, both of which

                                   9   had maximum twenty-year sentences. By June 2, 2015, Bridges’ trial counsel indicated

                                  10   defendant’s intent to plead guilty as early as March 29, 2015, referring at this point to the money

                                  11   laundering charge of Section 1956 and its twenty-year maximum sentence. See Opp. Ex. 1 (Dkt.

                                  12   No. 171-1). The letter also indicates Bridges would not plead guilty to obstruction of justice. See
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                                  13   id. The government changed the money laundering charge to Section 1957, with a shorter ten-year

                                  14   maximum, during the plea negotiations so that Bridges would plead guilty to obstruction of

                                  15   justice. The red-lined plea agreement demonstrates that the unchanged references to a twenty-year

                                  16   maximum are simply scrivener’s errors. See Opp. Ex. 2 (Dkt. No. 171-2). Furthermore, the

                                  17   judgment reflects the correct charges. See Judgment (Dkt. No. 97).

                                  18       With or without the error, Bridges was prepared to enter the plea and knew the risk and benefit

                                  19   calculus of his bargain. In Bridges’ declaration he discussed how the possibility of twenty years in

                                  20   prison made a plea agreement with a Sentencing Guideline range of 57 to 71 months more

                                  21   prudent. See Bridges Decl. ¶ 5 (Dkt. No. 169-11). He stated his understanding that a 71-month

                                  22   sentence was a relief compared to twenty years. Id. ¶ 6. That expectation, however, reveals

                                  23   Bridges’ knowing and voluntary agreement. The only way Bridges received a plea with a

                                  24   Guideline range of 57 to 71 months and could expect a 71-month maximum under the Guidelines

                                  25   was because his counsel negotiated for the Section 1957 charge with a ten-year maximum. The

                                  26   plea negotiations lowered his Guideline level from 26, which carries a 63- to 78-month sentence,

                                  27   to 25 which carries a 57- to 71-month sentencing range. See Fenstermaker Decl. Ex. F at 4 (Dkt.

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                                   1   No. 169-8). Irrespective of the scrivener’s errors in his plea agreement or presentence report, or

                                   2   the errors verbally repeated at the arraignment, Bridges entered a voluntary and intelligent plea

                                   3   while aware of the possible maximum punishment he faced.

                                   4      By entering his guilty plea pursuant to an agreement with the government, Bridges forfeited

                                   5   his right to redress claims beyond ineffective assistance of counsel. In relevant part, his plea

                                   6   agreement states, “I agree not to file any collateral attack on my conviction or sentence, including

                                   7   a petition under 28 U.S.C. § 2255 or 28 U.S.C. § 2241, except that I reserve my right to claim that

                                   8   my counsel was ineffective in connection with the negotiation of this Agreement or the entry of

                                   9   my guilty plea.” Plea Agreement ¶ 5. Accordingly, his claims that the plea agreement violated

                                  10   Fifth Amendment due process, contract law principles, and Rule 11 – all of which depend on the

                                  11   claim he was misinformed by counsel and the court – are barred.

                                  12      B. Barred Claims
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                                  13      Assuming for the sake of argument that Bridges’ claims are not barred by the waiver, they still

                                  14   fail for the reasons already stated. Bridges does not offer cognizable claims for a violation of due

                                  15   process, contract law principles, or Rule 11.

                                  16          1. Violation of Due Process and Contract Law Principles Claims
                                  17      Bridges argues that repeated misrepresentations regarding the possible maximum sentence

                                  18   prevented him from weighing the risks and benefits of entering the plea agreement. This argument

                                  19   is meritless. His contention that the misrepresentation violates due process and basic contract law

                                  20   principles fails for the same reasons his plea agreement was a valid, voluntary, and intelligent

                                  21   agreement.

                                  22      Any discrepancy in the money laundering maximum punishment was scrivener’s error that did

                                  23   not change Bridges’ risk and benefit calculus. It was precisely Bridges’ ability to weigh the risks

                                  24   and benefits that allowed him to realize a plea agreement for an obstruction charge and a Section

                                  25   1957 money laundering charge with a Sentencing Guideline maximum of 71-months, was better

                                  26   than proceeding to trial on obstruction and the Section 1956 money laundering charge—each with

                                  27   twenty-year maximum sentences.

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                                              2. Rule 11 Claim
                                   1
                                          Bridges argues the court did not comply with Rule 11 by failing to inform him on the proper
                                   2
                                       maximum sentence. See United States v. Jaramillo-Suarez, 857 F.2d 1368 (9th Cir. 1988) (finding
                                   3
                                       reversible error, on direct appeal, when the trial court failed to advise defendant of his maximum
                                   4
                                       sentence prior to accepting his plea); Barrios-Guttierez, 255 F.3d at 1026 (finding Rule 11
                                   5
                                       mandates the court “tell the defendant the maximum possible penalty.”). He asserts that the
                                   6
                                       mistakes were structural errors requiring reversal “without regard to the mistake’s effect on the
                                   7
                                       proceeding.” United States v. Collins, 684 F.3d 873, 881 (9th Cir. 2012).
                                   8
                                          Under Rule 11, collateral relief is available when the plaintiff demonstrates: “(1) error, (2) that
                                   9
                                       is plain, and (3) that affect[s] substantial rights…” United States v. Kyle, 734 F.3d 956, 963 (9th
                                  10
                                       Cir. 2013). In Jaramillo-Suarez, the court explained the defendant’s burden in making collateral
                                  11
                                       attacks under 28 U.S.C. § 2255 is to establish the purported error resulted in a miscarriage of
                                  12
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                                       justice and that defendant was unaware of the consequences of his plea. See 857 F.2d at 1370 (“a
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                                  13
                                       technical violation of the rule will not support section 2255 collateral relief in the absence of a
                                  14
                                       showing of constitutional error or special prejudice.”) (citing United States v. Timmreck, 441 U.S.
                                  15
                                       780, 784 (1979)). Structural errors are “defect[s] affecting the framework within which the trial
                                  16
                                       proceeds, rather than simply an error in the trial process itself.” Johnson v. United States, 520 U.S.
                                  17
                                       461, 468 (1997) (finding the failure to submit the materiality of false statements to the jury did not
                                  18
                                       affect defendant’s substantive rights).
                                  19
                                          Bridges’ declaration evidences his awareness of the consequences of his plea even with the
                                  20
                                       scrivener’s errors and the misstated maximum punishment. He accurately believed he faced a 71-
                                  21
                                       month maximum punishment under the advisory Sentencing Guidelines, which accounted for the
                                  22
                                       proper ten-year maximum of the Section 1957 money laundering charge. See Bridges Decl. ¶ 5.
                                  23
                                       The government would have pursued the twenty-year maximum for money laundering under
                                  24
                                       Section 1956 (as Bridges was correctly under the impression was his maximum possible sentence)
                                  25
                                       if he did not accept the guilty plea. On this record, Bridges fails to show with reasonable
                                  26
                                       probability that his decision to enter the plea would have changed.
                                  27

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                                           C. Ineffective Assistance of Counsel
                                   1
                                           Bridges asserts his trial counsel provided ineffective assistance by failing to advise him of the
                                   2
                                       maximum sentence that he faced for the money laundering count. He also asserts his appellate
                                   3
                                       counsel was ineffective for failing to argue Bridges’ due process rights were violated because of
                                   4
                                       the misrepresented maximum sentence. The scrivener’s errors arising from the red-lining and
                                   5
                                       editing process of the plea negotiations, far from being intentional misrepresentations or
                                   6
                                       inadequate assistance, actually resulted from his trial counsel’s ability to get Bridges the lesser
                                   7
                                       Section 1957 money laundering charge through plea negotiations.
                                   8
                                           The standard for attorney performance is reasonably effective assistance. Strickland v.
                                   9
                                       Washington, 466 U.S. 668, 687 (1984). The first prong of the Strickland test requires the petitioner
                                  10
                                       to demonstrate that his counsel’s representation fell “below an objective standard of
                                  11
                                       reasonableness.” Id. at 688. Courts presume “that counsel’s conduct was within the wide range of
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                                       reasonable assistance, and that [he or she] exercised acceptable professional judgment in all
                                  13
                                       significant decisions made.” Hughes v. Borg, 898 F.2d 695, 702 (9th Cir. 1990). The other prong
                                  14
                                       requires the petitioner to demonstrate a reasonable probability that the outcome of the proceeding
                                  15
                                       would have been different if not for the errors of his counsel. Strickland, 466 U.S. at 694. To state
                                  16
                                       a viable claim for ineffective assistance, a petitioner must satisfy both elements of the Strickland
                                  17
                                       test. If either is absent, the claim must be dismissed. Id. at 697. Bridges’ claim fails both prongs of
                                  18
                                       this test.
                                  19
                                           Counsel’s error had no impact on Bridges’ decision-making. As Bridges explained, he
                                  20
                                       believed he was deciding between going to trial and facing a twenty-year maximum sentence or
                                  21
                                       taking the guilty plea for a maximum 71-month Sentencing Guideline recommended punishment.
                                  22
                                       It is true that Section 1957 carries with it a ten-year maximum sentence, but if no agreement was
                                  23
                                       made and the case proceeded to trial, the government would have pursued its original Section
                                  24
                                       1956 and obstruction of justice charges, each with twenty-year maximum sentences. Bridges’
                                  25
                                       perceived risk of a twenty-year maximum sentence remained the same. Bridges also expressed his
                                  26
                                       intent to plead guilty to money laundering under Section 1956, in any event, as early as March 29,
                                  27

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                                   1   2015. See Opp. Ex. 1. Because there is not a reasonable probability that but for the errors, Bridges

                                   2   would have rejected the plea negotiated by his counsel, there is no viable claim for ineffective

                                   3   assistance.

                                   4                                           V. CONCLUSION
                                   5      Bridges fails to offer any colorable theory he is entitled to Section 2255 relief. His motion to

                                   6   vacate his sentence, judgment of conviction, and waiver of indictment is denied.

                                   7

                                   8   IT IS SO ORDERED.

                                   9

                                  10   Dated: October 16, 2018

                                  11                                                   ______________________________________
                                                                                       RICHARD SEEBORG
                                  12                                                   United States District Judge
Northern District of California
 United States District Court




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